    Case 3:19-md-02885-MCR-HTC Document 4061 Filed 05/24/24 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
 IN RE:                                             Case No. 3:19-MD-02885
 3M COMBAT ARMS
 EARPLUG PRODUCTS LIABILITY                         Judge M. Casey Rodgers
 LITIGATION,                                        Magistrate Judge Hope T. Cannon


 This Document Relates to:
 All Cases




         STIPULATION AND JOINT REQUEST TO VACATE
                          AUGUST 16, 2022 ORDER
      The parties to the above-captioned Litigation (the “Parties”) hereby agree and

stipulate as follows:

       WHEREAS, on April 3, 2019, the Judicial Panel on Multidistrict Litigation
centralized in the Northern District of Florida individual claims based on alleged
hearing-related injuries caused by use of hearing protection devices known as
Combat Arms Earplug version 2, In re: 3M Combat Arms Earplug Products
Liability Litigation, No. 19-md-2885 (N.D. Fla.);

       WHEREAS, on July 26, 2022, Defendant Aearo Technologies LLC along
with certain of its affiliates filed for Chapter 11 protection in the Southern District
of Indiana, In re Aearo Technologies LLC, et al., No. 22-02890-JJG-11 (Bankr.
S.D. Ind.);

       WHEREAS, on August 3, 2022, Plaintiff Richard Valle filed in the MDL
court an “Emergency Motion for Preliminary Injunction Against Defendant 3M
Company,” Dkt. 3358;

       WHEREAS, on August 16, 2022, the MDL Court granted in part and denied
in part Valle’s motion, entering an All Writs Act injunction, Dkt. 3389;
   Case 3:19-md-02885-MCR-HTC Document 4061 Filed 05/24/24 Page 2 of 4




      WHEREAS, on August 19, 2022, Defendant 3M Company filed a notice of
appeal in a matter styled Richard Valle v. 3M Company et al. in the United States
Court of Appeals for the Eleventh Circuit, Appeal Number 22-12796, and sought
reversal of the MDL Court’s order and vacatur of its All Writs Act injunction;

      WHEREAS, Plaintiffs and Defendant 3M Company, following briefing,
presented oral argument to the United States Court of Appeals for the Eleventh
Circuit concerning the MDL Court’s order and the All Writs Act injunction on June
27, 2023,

     WHEREAS, on August 29, 2023, Negotiating Plaintiffs’ Counsel and
Defendants entered into a Master Settlement Agreement;

      WHEREAS, on September 6, 2023, Defendant 3M Company moved to hold
the appeal in abeyance pending settlement talks;

      WHEREAS, on September 11, 2023, Plaintiffs filed a statement of non-
opposition to Defendant 3M Company’s abeyance motion;

      WHEREAS, on September 20, 2023, the United States Court of Appeals for
the Eleventh Circuit issued an order granting the request to hold in abeyance the
appeal in Richard Valle v. 3M Company et al., Appeal Number 22-12796;

      WHEREAS, claims against the Aearo Defendants and Defendant 3M
Company have been settled pursuant to the Master Settlement Agreement’s terms
and procedures;

      WHEREAS, as of May 10, 2024, the Settlement Administrator calculated
the Participation Level under the Master Settlement Agreement at 99.68%; and

     WHEREAS, pursuant to the Parties’ joint request, the United States Court of
Appeals for the Eleventh Circuit has dismissed the appeal in Richard Valle v. 3M
Company et al., Appeal Number 22-12796;
   Case 3:19-md-02885-MCR-HTC Document 4061 Filed 05/24/24 Page 3 of 4




      NOW, THEREFORE, in light of the foregoing, the Parties, through their
undersigned counsel, jointly request that the MDL Court vacate its August 16,
2022 All Writs Act Injunction and Order.

Dated: May 24, 2024

                                        Respectfully submitted,

/s/ Bryan F. Aylstock                    /s/ Charles F. Beall, Jr.
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Negotiating Plaintiffs’ Counsel          Counsel for Defendants
    Case 3:19-md-02885-MCR-HTC Document 4061 Filed 05/24/24 Page 4 of 4




                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY this 24th day of May, 2024 , a true and correct copy

of the foregoing was electronically filed via the Court's CM/ECF system, which

will automatically serve notice of this filing via e-mail notification to all registered

counsel of record.



                                  /s/ Charles F. Beall, Jr.
                                  Charles F. Beall , Jr.

                                  Counsel for Defendant , 3M Company
